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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 JILL STEIN, et al.,                               :
                                                   :   CIVIL ACTION
                                                   :
                              Plaintiffs,
                                                   :
                         v.                        :   No. 16-cv-6287(PD)
 KATHY BOOCKVAR, in her official capacity          :
 as Secretary of the Commonwealth, and             :
 JONATHAN MARKS, in his official capacity          :
 as Commissioner of the Bureau of                  :
 Commissions, Elections and Legislation,           :
                                                   :
                              Defendants.          :
                                                   :
                                                   :

         INTERVENORS’ JOINDER IN DEFENDANTS’ MOTION IN LIMINE

       Intervenors the Philadelphia Board of Elections and the City of Philadelphia join

Defendants’ Motion in Limine to Preclude Unidentified Rebuttal Witnesses, Individual Voter

Testimony, and Evidence of ExpressVote XL Performance During the November 2019 Elections

in Northampton County [ECF 150] and adopt Defendants’ arguments as if set forth fully herein.


                                            Respectfully submitted,

                                            CITY OF PHILADELPHIA LAW DEPARTMENT
                                            Marcel S. Pratt, City Solicitor

Date: January 15, 2020                      By: /s/ Benjamin H. Field
                                            BENJAMIN H. FIELD (PA ID No. 204569)
                                            Divisional Deputy City Solicitor
                                            DANIELLE WALSH (PA ID No. 312438)
                                            Deputy City Solicitor
                                            MICHAEL PFAUTZ (PA ID No. 325323)
                                            Assistant City Solicitor
                                            Affirmative & Special Litigation
                                            CITY OF PHILADELPHIA LAW DEPARTMENT
                                            1515 Arch Street, 15th Floor
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                           Philadelphia, PA 19102
                           Phone: (215) 683-5024

                                  Counsel for Intervenors




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                                    CERTIFICATE OF SERVICE


       I hereby certify that, on January 15, 2020, I served a true and correct copy of the

foregoing Intervenors’ Joinder in Defendants’ Motion In Limine upon all counsel of record via

ECF system and the foregoing document is available for viewing and/or downloading pursuant

to the Court’s ECF system and is served pursuant to FRCP Rule 5(b) and Local Civil Rule 5.1.2.




                                     BY:     /s/ Michael Pfautz
                                             Assistant City Solicitor
